This matter was confided to a referee, with directions to take evidence and to make findings upon the issues framed by the petition of the applicant and the answer of respondent thereto. The referee has performed his duty and all his findings are favorable to petitioner Respondent has taken exception to none of the findings, but despite that fact we have thought it our duty to examine minutely the record made before the referee. [1] As a result of that labor we determine that each of the findings is supported by a satisfactory preponderance of the evidence.
The findings of the referee are adopted as the findings of the court. The clerk of the court will issue to petitioner a certificate in the usual form admitting him to the bar of the state.
Thompson, J., deeming himself disqualified, does not participate in the foregoing opinion.
Craig, J., concurred. *Page 216 